    Case 1:24-cv-00085-DMT-CRH                Document 27        Filed 03/27/25     Page 1 of 2




                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NORTH DAKOTA

Dr. Mary Logue,                           )
                                          )
                  Plaintiff,              )     ORDER
                                          )
       vs.                                )
                                          )
Trinity Health,                           )     Case No. 1:24-cv-085
                                          )
                  Defendant.              )


       On March 26, 2025, the Parties filed an Amended Scheduling/Discovery Plan. (Doc. No.

26). The court ADOPTS the Parties’ Amended Scheduling/Discovery Plan (Doc. No. 26) and

AMENDS the pretrial deadlines as follows:

       1.         The parties shall have until June 30, 2025, to complete fact discovery and to file

                  discovery motions.

       2.         The parties shall provide by July 31, 2025 the names of expert witnesses and

                  complete reports under Rule 26(a)(2).

       3.         The parties shall have until August 30, 2025, to complete discovery depositions of

                  expert witnesses.

       4.         The parties shall have until June 30, 2025, to move to amend pleadings to add claims

                  for punitive damages.

       5.         The parties shall have until June 30, 2025, to file nondispositive motions.

       6.         The parties shall have until October 10, 2025, to file dispositive motions

       To ensure there is sufficient time for the briefing and consideration of any dispositive

motions that may be filed, the court on its own motion shall continue the final pretrial conference


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    Case 1:24-cv-00085-DMT-CRH              Document 27        Filed 03/27/25      Page 2 of 2




and jury trial in this matter. Accordingly, the final pretrial conference on December 30, 2025, shall

be rescheduled for April 7, 2026, at 9:00 AM by telephone. To participate, the Parties should call

(571) 353-2301 and enter 292466149 followed by # when prompted for the “Call ID.” The jury trial

on January 12, 2026, shall be rescheduled for April 20, 2026, at 9:30 AM in Bismarck before Judge

Traynor (5 days).

       IT IS SO ORDERED.

       Dated this 27th day of March, 2025.

                                              /s/ Clare R. Hochhalter
                                              Clare R. Hochhalter, Magistrate Judge
                                              United States District Court




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